

People v Count C. (2022 NY Slip Op 03971)





People v Count C.


2022 NY Slip Op 03971


Decided on June 16, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 16, 2022

Before: Acosta, P.J., Kapnick, Friedman, Mendez, Higgitt, JJ. 


 Ind. Nos. 1212/17 1279/17 Appeal No. 16139-16139A Case No. 2018-1636 

[*1]The People of the State of New York, Respondent,
vCount C., Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Harold V. Ferguson, Jr. of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Christopher Michael Pederson of counsel), for respondent.



Judgments, Supreme Court, Bronx County (Bahaati E. Pitt, J. at first plea; George Villegas, J. at second plea and sentencings), rendered July 17, 2017, convicting defendant, upon his pleas of guilty, of burglary in the third degree and robbery in the second degree, adjudicating him a youthful offender, and sentencing him to concurrent terms of five years' probation, unanimously affirmed.
Defendant's valid waivers of the right to appeal preclude review of his arguments that the mandatory surcharges and fees imposed on him at sentencing should be vacated based on his youthful offender status or pursuant to CPL 430.35(2-a) (see
People v Montanez, 203 AD3d 755 [2d Dept 2022]; see also People v Muniz, 91 NY2d 570, 574 [1998]; People v Seaberg, 74 NY2d 1, 9-10 [1989]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 16, 2022








